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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :

               v.                     :       23-CR-110 (CR)

CORBIN OLIVER GRAY                    :


                                          STATUS REPORT

       Pursuant to the order issued by the Honorable Moxila A. Upadhyaya at the hearing on

May 2, 2023, undersigned counsel respectfully submits that the primary third-party custodian,

Lieutenant Commander Milton Gray, reports that Corbin Oliver Gray is in complete compliance

with the conditions of her release.



                                              Respectfully submitted,

                                              A. J. KRAMER
                                              FEDERAL PUBLIC DEFENDER

                                                     /s/

                                              MARY MANNING PETRAS
                                              Assistant Federal Public Defender
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